       Case 3:24-cv-01760-AWT               Document 18-3    Filed 01/03/25    Page 1 of 1




UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT


Lensendro, Laguerre,

                      Plaintiff,
                                                              Case No.: 3:24-cv-01760-AWT
         -v-

Andrew M. Young, Capital One Financial
Corporation, and Bond Doe,

                      Defendants.


                                    CERTIFICATE OF SERVICE

         I hereby certify that on January 3, 2025, I caused the foregoing documents to be

electronically filed with the Clerk of the Court using the CM/ECF system, and sent by FedEx

overnight mail, to pro se Plaintiff, Lensendro Laguerre, at 26 Broad St. Apt. 4, Norwalk, CT

06851:

               1. Defendants’ Notice of Motion to Dismiss;

               2. Defendants’ Memorandum of Law in Support of Motion to Dismiss;

               3. Proposed Order;

               4. Certificate of Service.

         I certify that the foregoing statement made by me are true. I am aware that if any of the

foregoing statements are willfully false, I am subject to punishment.

Dated: January 3, 2025
       New York, New York

                                                TROUTMAN PEPPER LOCKE LLP

                                                By: s/ Bennet J. Moskowitz
                                                       Bennet J. Moskowitz
